
[*] By the Court.
We do not think it correct to reverse for this cause. The plaintiff demanded hut one hundred dollars, and the variance of a half-cent in the credit is too small to take notice of.
It was then contended, that the plaintiff was not present when the verdict was rendered; and also, that the constable was not sworn to attend the jury. The record on these points, show that the justice had not entered these facts on his docket; and therefore, the Court was required to presume the want of them; that what did not appeal’ on the record was not.
By the Court. — We think this too strict.
There were, several small articles of provisions charged, which were noted to have been lent atthetime, in the plaintiff’s account; for which cause, the counsel for the plaintiff in error contended, that these goods lent, could not be recovered in this form of action.
But the Court said, that this being a common book account, kept in a plain way, by plain people, it was well enough; and Affirmed the judgment.
